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WCS and Kroger Family Suncor Price Comparisons

Suncor Denver: #2D 15 PPM SULFUR MV DIESEL
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC
2009
Sunday
Monday
Tuesday
Wednesday
Thursday
Friday
Saturday
2010
Sunday
Monday
Tuesday
Wednesday
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2011
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[wes paid a higher price fjwcs paid a lower price []No comparable transaction

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Case 1:11-cv-01611-MSK-CBS Document 264-4 Filed 11/20/13 USDC Colorado Page 2 of 3

WCS and Kroger Family Suncor Price Comparisons

Suncor Denver: UNL CONV 85 10% ETH G
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC
2009
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[Jwcs paid a higher price [wcs paid a lower price [No comparable transaction
Case 1:11-cv-01611-MSK-CBS Document 264-4 Filed 11/20/13 USDC Colorado Page 3 of 3

WCS and Kroger Family Suncor Price Comparisons

Suncor Denver: UNL CONV 91 10% ETH G
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC
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[Jwcs paid a higher price Ijwcs paid a lower price []No comparable transaction
